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12:12PM    1                            UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF NEW YORK
           2

           3     _________________________________
                 UNITED STATES OF AMERICA,
           4                                                  Case No. 1:22-cr-86 (LJV)
                                    Plaintiff,                         1:24-cr-31 (LJV)
           5
                 vs.                                          May 29, 2024
           6
                 JUSTIN HALL,
           7                        Defendant.

           8

           9                            TRANSCRIPT OF SENTENCING
                              BEFORE THE HONORABLE LAWRENCE J. VILARDO
          10                         UNITED STATES DISTRICT JUDGE

          11
                 APPEARANCES:              TRINI E. ROSS, UNITED STATES ATTORNEY
          12                               BY: GARRETT S. FITZSIMMONS, ESQ.
                                           Assistant United States Attorney
          13                               138 Delaware Avenue
                                           Federal Centre
          14                               Buffalo, New York 14203
                                           For the Plaintiff
          15
                                           LIPSITZ GREEN SCIME CAMBRIA LLP
          16                               BY: BARRY NELSON COVERT, ESQ.
                                           42 Delaware Avenue
          17                               Suite 120
                                           Buffalo, New York 14203
          18                               For the Defendant

          19     PRESENT:                  APRIL L. KELLY, USA Paralegal

          20     PROBATION:                LISA B. FERRARO, USPO

          21     COURT DEPUTY CLERK:       COLLEEN M. DEMMA

          22     COURT REPORTER:           ANN MEISSNER SAWYER, FCRR, RPR, CRR
                                           Robert H. Jackson Courthouse
          23                               2 Niagara Square
                                           Buffalo, New York 14202
          24                               Ann_Sawyer@nywd.uscourts.gov

          25
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12:30PM    1                (Proceedings commenced at 12:30 p.m.)

12:30PM    2                THE CLERK:     All rise.    United States District Court

12:30PM    3     for the Western District of New York is now in session, the

12:30PM    4     Honorable Lawrence J. Vilardo presiding.

12:30PM    5                THE COURT:     Please be seated.

12:30PM    6                THE CLERK:     22-CR-86 and 24-CR-31, United States of

12:31PM    7     America versus Justin Hall.

12:31PM    8                Assistant United States Attorney Garrett Fitzsimmons,

12:31PM    9     and paralegal April Kelly, appearing on behalf of the

12:31PM   10     government.

12:31PM   11                Attorney Barry Covert appearing with defendant.

12:31PM   12     Defendant is present.

12:31PM   13                Also present is U.S. Probation Officer Lisa Ferraro.

12:31PM   14                This is the date set for sentencing.

12:31PM   15                THE COURT:     Good afternoon, everybody.

12:31PM   16                ALL PARTIES:    Good afternoon, Your Honor.

12:31PM   17                THE COURT:     Mr. Hall is before the Court for

12:31PM   18     sentencing on his previous pleas of guilty to Count 1 of the

12:31PM   19     superseding indictment in Western District of New York,

12:31PM   20     22-CR-86, charging that he possessed a firearm when he was

12:31PM   21     prohibited from doing so because he had a prior domestic

12:31PM   22     violence criminal conviction in violation of Title 18, United

12:31PM   23     States Code, Section 922(g)(9) and 924(a)(2), and Count 1 of

12:31PM   24     the indictment in the District of Nevada, 22-CR-32,

12:31PM   25     transferred to this district as 24-CR-31, and that also
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12:32PM    1     charged that he possessed a firearm when he was prohibited

12:32PM    2     from doing so because he had a prior domestic violence

12:32PM    3     criminal conviction in violation of 18, United States Code,

12:32PM    4     Section 922(g)(9) and 924(a)(2).

12:32PM    5                We're going to begin with some questions that I have

12:32PM    6     for the lawyers and for you, Mr. Hall, about the presentence

12:32PM    7     investigation report.

12:32PM    8                I then am going to make sure that I've received and

12:32PM    9     read all the sentencing-related submissions.

12:32PM   10                After that, I plan to make some findings of fact and

12:32PM   11     calculate the applicable sentencing guidelines range.                And

12:32PM   12     then before I state the sentence, I'm going to give the

12:32PM   13     lawyers and you an opportunity to talk to me about anything

12:32PM   14     anyone thinks is relevant to sentencing.

12:32PM   15                So are there any questions before we begin from the

12:32PM   16     government?

12:32PM   17                MR. FITZSIMMONS:     No, Your Honor.

12:32PM   18                THE COURT:    From the defense?

12:32PM   19                MR. COVERT:    No, Your Honor.

12:32PM   20                THE COURT:    Mr. Covert, have you had enough time to

12:32PM   21     read the presentence report prepared on April 10th, 2024,

12:32PM   22     revised on April 26th, 2024, and finally revised and filed

12:32PM   23     April 29, 2024, and to review it with your client?

12:32PM   24                MR. COVERT:    I have.

12:32PM   25                THE COURT:    And, Ms. Ferraro, there were no revisions
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12:33PM    1     or updates to the presentence report that was filed on

12:33PM    2     April 29th, 2024; is that correct?

12:33PM    3                USPO FERRARO:     That's correct, Your Honor.

12:33PM    4                THE COURT:    Mr. Covert, did you explain the contents

12:33PM    5     of the report to Mr. Hall?

12:33PM    6                MR. COVERT:     We did.

12:33PM    7                THE COURT:    Do you have any concerns about his

12:33PM    8     ability to understand it?

12:33PM    9                MR. COVERT:     None at all.

12:33PM   10                THE COURT:    Mr. Hall, did you receive a copy of the

12:33PM   11     presentence report prepared on April 10th, revised on

12:33PM   12     April 26th, and then finally revised and filed on April 29th,

12:33PM   13     2024.

12:33PM   14                THE DEFENDANT:     I did, sir.

12:33PM   15                THE COURT:    Did your attorney explain it to you?

12:33PM   16                THE DEFENDANT:     Yes, sir.

12:33PM   17                THE COURT:    Do you understand it?

12:33PM   18                THE DEFENDANT:     Fully.

12:33PM   19                THE COURT:    Do you have any questions about it?

12:33PM   20                THE DEFENDANT:     No, sir.

12:33PM   21                THE COURT:    Do you need more time to talk to

12:33PM   22     Mr. Covert about it or to read it?

12:33PM   23                THE DEFENDANT:     No, sir.

12:33PM   24                THE COURT:    Okay.   Mr. Covert, do you want to contest

12:33PM   25     or change anything in the report?
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12:33PM    1                MR. COVERT:    No.

12:33PM    2                THE COURT:    And that includes both the facts and the

12:33PM    3     guideline calculation, correct?

12:33PM    4                MR. COVERT:    That's correct.

12:33PM    5                THE COURT:    Mr. Hall, do you want to contest or

12:33PM    6     change in anything in the report?

12:33PM    7                THE DEFENDANT:     No, sir.

12:33PM    8                THE COURT:    And, Mr. Fitzsimmons, does the government

12:33PM    9     want to contest or change anything in the report?

12:33PM   10                MR. FITZSIMMONS:     No, Your Honor.

12:33PM   11                THE COURT:    And that includes both the facts and the

12:33PM   12     guideline calculation, correct?

12:33PM   13                MR. FITZSIMMONS:     Correct.

12:33PM   14                THE COURT:    Mr. Covert, I've received and reviewed

12:34PM   15     the defendant's statement with respect to sentencing factors,

12:34PM   16     and the defendant's sentencing memorandum, that attached:

12:34PM   17                His letter to the Court;

12:34PM   18                It attached a 2017 domestic violence judgment of

12:34PM   19     conviction and order from the Court from Virginia Township,

12:34PM   20     Nevada;

12:34PM   21                An annotated version of the indictment in United

12:34PM   22     States versus Hall in the District of Nevada;

12:34PM   23                A 2016 letter from Amanda Barrow, indicating that she

12:34PM   24     did not have a domestic dispute with Mr. Hall;

12:34PM   25                Mr. Hall's 2024 certificate of graduation from the
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12:34PM    1     Cattaraugus County Action Inside/Out Dads and Money Smarts

12:34PM    2     program; and

12:34PM    3                A legal document that was sealed by Mr. Hall and

12:34PM    4     Russell J. Gould.

12:34PM    5                And then letters written on Mr. Hall's behalf by:

12:34PM    6                Barbara Restad, his aunt;

12:34PM    7                Gordon Gray, who's known him for 20 years;

12:34PM    8                Aaron Resavage, who's known him for a couple years;

12:34PM    9                Sheri Van Ness, who's known him for many years;

12:35PM   10                Tawnya MacLeod, who's also known him for many years.

12:35PM   11                And then there was also a letter from Monica

12:35PM   12     Goncalves.     Was that -- was that intentionally attached to

12:35PM   13     this?

12:35PM   14                MR. COVERT:    Yes.

12:35PM   15                THE COURT:    Tell me why that -- what the connection

12:35PM   16     of that is.

12:35PM   17                MR. COVERT:    I believe that that's the letter that

12:35PM   18     explains the issues in relation to Tawnya MacLeod's son that

12:35PM   19     Tawnya MacLeod would like my client to be present and assist

12:35PM   20     her in raising that child because he has those issues, is my

12:35PM   21     understanding of it, Your Honor.

12:35PM   22                THE COURT:    Oh, okay.    I see.     Okay.    Okay.      Yeah.

12:35PM   23     This is the child who Ms. MacLeod was with her in

12:35PM   24     Massachusetts?

12:35PM   25                MR. COVERT:    In Marlboro, Massachusetts.
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12:35PM    1                THE COURT:    Got it.

12:35PM    2                MR. COVERT:      Correct, Your Honor.

12:35PM    3                THE COURT:    Now I understand.

12:35PM    4                MR. COVERT:      Sorry for any confusion.

12:35PM    5                THE COURT:    No, no, that's okay.         I read it, and it

12:35PM    6     just didn't register with me, but --

12:35PM    7                MR. COVERT:      Same when I read it.

12:35PM    8                THE COURT:    When I look at it again, and I see the

12:36PM    9     name Tawnya MacLeod --

12:36PM   10                MR. COVERT:      And the red paper doesn't help.

12:36PM   11                THE COURT:    Well, I was able to read it.          I was able

12:36PM   12     to read it.     So, okay.    So, is that everything?

12:36PM   13                MR. COVERT:      It is, Your Honor.

12:36PM   14                THE COURT:    And is there anything else you'd like to

12:36PM   15     submit in writing?

12:36PM   16                MR. COVERT:      No, Your Honor.

12:36PM   17                THE COURT:    Mr. Fitzsimmons, I've received the

12:36PM   18     government's statement with respect to sentencing factors, and

12:36PM   19     its memorandum of law in opposition to Mr. Hall's sentencing

12:36PM   20     submissions, with attachments A through J; is that everything?

12:36PM   21                MR. FITZSIMMONS:      Yes, Your Honor.

12:36PM   22                THE COURT:    There anything else the government would

12:36PM   23     like to submit in writing?

12:36PM   24                MR. FITZSIMMONS:      No, Your Honor.

12:36PM   25                THE COURT:    Finally, consistent with Federal Rule of
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12:36PM    1     Criminal Procedure 32(e)(3) as interpreted by the D.C. Circuit

12:36PM    2     in McIlwain, have both sides been given access to the sealed

12:36PM    3     sentencing recommendation that was filed on May 15th, 2024?

12:36PM    4     Mr. Covert?

12:36PM    5                MR. COVERT:    Yes, Your Honor.

12:36PM    6                THE COURT:    Mr. Fitzsimmons?

12:36PM    7                MR. FITZSIMMONS:     Yes.

12:36PM    8                THE COURT:    I previously accepted the defendant's

12:36PM    9     pleas of guilty to Count 1 of the superseding indictment in

12:36PM   10     Western District of New York 22-CR-86, as well as Count 1 of

12:36PM   11     the indictment in the District of Nevada 22-CR-32, transferred

12:37PM   12     to this District as 24-CR-31, each charging that he possessed

12:37PM   13     a firearm when he was prohibited from doing so because he had

12:37PM   14     a prior domestic violence conviction in violence -- a prior

12:37PM   15     domestic violence criminal conviction in violation of

12:37PM   16     Title 18, United States Code, Section 922(g)(9) and 924(a)(2).

12:37PM   17                At that time, I deferred acceptance of the plea

12:37PM   18     agreement.    I now accept the terms and conditions of the plea

12:37PM   19     agreement that was signed on February 16th, 2024, and the

12:37PM   20     judgment and sentence will be consistent with it.

12:37PM   21                I note that in the plea agreement, the government

12:37PM   22     agreed to move to dismiss the open count of the indictment

12:37PM   23     pending against the defendant in 22-CR-86.            So I also find

12:37PM   24     that the charges to which the defendant pleaded guilty, that

12:37PM   25     is Count 1 of each of the indictments, adequately reflects the
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12:37PM    1     seriousness of the actual offense behavior, and that accepting

12:37PM    2     the agreement will not undermine the statutory purposes of

12:37PM    3     sentencing or the guidelines.

12:37PM    4                The dismissed count involves the transportation of

12:38PM    5     firearms and ammunition in the Western District of New York

12:38PM    6     case while the defendant was charged in Nevada, and all the

12:38PM    7     conduct involved in that count is accounted for in the

12:38PM    8     guidelines calculation.       So the plea agreement is consistent

12:38PM    9     with both the guidelines and the statutory purposes of

12:38PM   10     sentencing.

12:38PM   11                The defendant and the government have both filed

12:38PM   12     statements with respect to sentencing factors, and both have

12:38PM   13     accepted the United States Probation and Pretrial Service

12:38PM   14     Office's presentence report.

12:38PM   15                Based on the parties' submissions and representations

12:38PM   16     today in court, there are no disputes about the facts included

12:38PM   17     in the presentence report.

12:38PM   18                I've reviewed that report as well.          Based on my

12:38PM   19     review, based on the written submissions, and based on the

12:38PM   20     positions taken on the record today, I adopt the facts in the

12:38PM   21     report as my findings of fact, and I incorporate them into the

12:38PM   22     record.

12:38PM   23                I will now place the presentence investigation report

12:38PM   24     filed on April 29th, 2024, in the record under seal.                 If an

12:38PM   25     appeal is filed, counsel on appeal will be given access to
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12:39PM    1     that sealed report.

12:39PM    2                So let's turn to the guidelines which I must

12:39PM    3     calculate and consider as an important part of my

12:39PM    4     determination of a sentence.         And I apologize to everyone for

12:39PM    5     the very technical nature of what's about to follow, but the

12:39PM    6     guidelines and the reasons behind the guidelines make this a

12:39PM    7     necessary step in the process.

12:39PM    8                Based on the parties' submissions, and based on their

12:39PM    9     representations today in court, there also are no disputes

12:39PM   10     regarding the recommendations in the presentence report as to

12:39PM   11     the applicable sections of the Sentencing Commission's

12:39PM   12     advisory guidelines or the computation of those guidelines.

12:39PM   13                The presentence report calculates under the 2023

12:39PM   14     version of the guidelines manual, first, that counts are

12:39PM   15     grouped together under 3D1.2(d).         And then, because the

12:39PM   16     offense with the higher offense level involved a semiautomatic

12:39PM   17     firearm that was capable of accepting a large-capacity

12:39PM   18     magazine, and because large-capacity magazines were found near

12:39PM   19     the ARM A-15 rifle, Section 2K2.1(a)(4)(B) provides for a base

12:40PM   20     offense level of 20.

12:40PM   21                The presentence report then recommends that the

12:40PM   22     offense level be increased by two levels under 2K2.1(b)(1)(A)

12:40PM   23     of the guidelines, because the offense involved between three

12:40PM   24     and seven firearms, here four firearms.

12:40PM   25                20, plus 2, gets us to 22.
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12:40PM    1                The presentence report then recommends that the

12:40PM    2     offense level be decreased by two levels under 3E1.1(a) of the

12:40PM    3     guidelines because the defendant has accepted responsibility

12:40PM    4     for his conduct.

12:40PM    5                And in its statement with respect to sentencing

12:40PM    6     factors, the government has moved for an additional one-level

12:40PM    7     decrease of the offense level under 3E1.1(b).             I grant that

12:40PM    8     motion by the government.

12:40PM    9                So based on all that, the presentence report

12:40PM   10     calculates the total offense level to be 19.             22, minus 2,

12:40PM   11     minus 1, is 19.

12:40PM   12                The report calculates the criminal history category

12:40PM   13     of the defendant to be Category I based on a criminal history

12:41PM   14     score of 1.     Based on my factual findings, I agree with those

12:41PM   15     calculations of both the offense level and the criminal

12:41PM   16     history category.

12:41PM   17                So with a total offense level of 19, and a criminal

12:41PM   18     history category of I, the presentence report calculates the

12:41PM   19     guidelines range as a sentence of imprisonment of 30 to 37

12:41PM   20     months, a fine range of $10,000 to $100,000, supervised

12:41PM   21     release of one to three years, and a mandatory special

12:41PM   22     assessment of $100 that I must impose.           I agree with all those

12:41PM   23     calculations, as well.

12:41PM   24                Mr. Hall, in the Supreme Court's decision in United

12:41PM   25     States versus Booker and the 2nd Circuit's decision in United
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12:41PM    1     States versus Crosby, I must consider the guidelines but I'm

12:41PM    2     not bound by them.       I also must consider the factors in 18,

12:41PM    3     United States Code, Section 3553(a).          Those factors include

12:41PM    4     the nature and the circumstances of the offense; your history

           5     and characteristics; the need for the sentence to reflect the

           6     seriousness of the offense, to promote respect for the law,

           7     and to provide a fair punishment to you; the need to deter

           8     others from committing crimes and to protect the public from

           9     your crimes; the need to provide you with educational or

          10     vocational training in an attempt to rehabilitate you; the

          11     types of sentences that are available; any policy statements

12:42PM   12     issued by the Sentencing Commission; and sentences given to

12:42PM   13     others who committed crimes similar to the one to which you

12:42PM   14     pleaded guilty.

12:42PM   15                 I plan to take all those factors into account when I

12:42PM   16     impose sentence, but before I do, I want to give the lawyers

12:42PM   17     and you a chance to talk to me about anything anyone thinks is

12:42PM   18     relevant.     So we're going to start with the government.

12:42PM   19                 Mr. Fitzsimmons, does the government want to make any

12:42PM   20     remarks?

12:42PM   21                 MR. FITZSIMMONS:    Yes, Your Honor.        May I use the

12:42PM   22     podium?

12:42PM   23                 THE COURT:    You may.

12:42PM   24                 MR. FITZSIMMONS:    Your Honor, in our system of

12:42PM   25     government, no one is above the law; not myself, not
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12:42PM    1     Your Honor, not members of law enforcement, and not the

12:43PM    2     defendant.

12:43PM    3                The Department of Justice, with the authority vested

12:43PM    4     to it by the Executive Branch, is entrusted to meet the

12:43PM    5     Constitution's solemn commands to take care that the laws of

12:43PM    6     the United States are faithfully executed.            One of those laws

12:43PM    7     is Title 18, United States Code, Section 922(g)(9), which

12:43PM    8     prohibits the possession of firearms by individuals previously

12:43PM    9     convicted of a domestic violence crime.

12:43PM   10                The defendant has twice violated that statute, and

12:43PM   11     has now admitted to doing so by possessing numerous firearms

12:43PM   12     and scores of ammunition.       Yet despite those admissions, the

12:43PM   13     defendant continues to declare that he is above the law, even

12:43PM   14     after his plea of guilty.

12:43PM   15                He contends that his self-declared status as a

12:43PM   16     sovereign national strips this Court of its authority to do

12:43PM   17     its own -- to perform its own constitutional function, to

12:43PM   18     interpret and apply the laws of the United States.

12:43PM   19                He has called this Court a fraud.          He has called this

12:44PM   20     Court part of a two-tiered justice system that is bent on

12:44PM   21     prosecuting him.

12:44PM   22                To be clear, the defendant is not here because the

12:44PM   23     government, law enforcement, or this Court, are out to impress

12:44PM   24     him.    The defendant is here because he committed serious

12:44PM   25     violations of federal law, and he is not entitled to act with
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12:44PM    1     impunity.

12:44PM    2                 THE COURT:    Let me ask you this.        And I understand

12:44PM    3     your argument, and your argument resonates with me.              I get

12:44PM    4     that.    I get the fact that Mr. Hall has basically said on a

12:44PM    5     number of occasions that he doesn't think this law applies to

12:44PM    6     him, and that it violates his right under the Second Amendment

12:44PM    7     and those kinds of things.       We're not going to change his

12:44PM    8     mind.    He -- he -- he believes that, and I believe that he

12:44PM    9     firmly believes that.       We're not going to change his mind.

12:44PM   10                 And what we're talking about between your

12:44PM   11     recommendation and Mr. Covert's recommendation -- I'm going to

12:44PM   12     ask Mr. Covert the same question -- is a relatively short, I

12:44PM   13     mean, it's not even relatively short, it is very short.               He

12:44PM   14     may -- he may qualify for release, if I give him 30 months, he

12:45PM   15     may qualify for release next week.          So tell me, what -- what

12:45PM   16     is it about the 30 months?       What is it about the fact that the

12:45PM   17     guidelines somewhat artificially picked 30 months at the low

12:45PM   18     end for this that's so important to you?

12:45PM   19                 And I'm going to ask Mr. Covert the same question

12:45PM   20     with respect to what he's asking for, which is time served.

12:45PM   21                 Because I think my goal here has to be, given the

12:45PM   22     fact that we're not talking about much time, my goal here has

12:45PM   23     to be to impose a sentence that sends the right message to

12:45PM   24     Mr. Hall, to society, to everyone, it's not just to him,

12:45PM   25     it's -- it's a message that I want to send from here to
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12:45PM    1     everyone.

12:45PM    2                 And Mr. Hall and I have disagreed any number of

12:45PM    3     times.     But over the past few months, we've come, I think, to

12:46PM    4     an agreement, and some mutual respect for each other.

12:46PM    5                 THE DEFENDANT:    Yes, sir.

12:46PM    6                 THE COURT:    I think that that's been very clear from

12:46PM    7     the change in his demeanor and the change in his attitude.            So

12:46PM    8     tell me what's so important about the 30 months.

12:46PM    9                 MR. FITZSIMMONS:    Sure, Your Honor.        Part of it is --

12:46PM   10     are the principles that are at stake here.            And like you said,

12:46PM   11     this will send a message both to the defendant and to the

12:46PM   12     broader community.

12:46PM   13                 But I will first address the last comment that you

12:46PM   14     made, that Mr. Hall seems to have made some progress

12:46PM   15     throughout these court proceedings from where he was on

12:46PM   16     September 8th, where he was threatening the Court with a

12:46PM   17     military tribunal, to his guilty plea.

12:46PM   18                 What is important to the government was the letter he

12:46PM   19     submitted after he had that plea of guilty in which he then

12:46PM   20     calls our entire justice system a two-tiered system of justice

12:46PM   21     that is bent on persecuting him, and has called this Court a

12:46PM   22     fraud, and this Court and these proceedings a miscarriage of

12:46PM   23     justice.

12:46PM   24                 So that -- the progress that appeared to have been

12:46PM   25     made at the last in-person proceeding in terms of his guilty
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12:47PM    1     plea seems to have gone -- we have taken a step backwards.

12:47PM    2     And so that disposition, his attitude towards this Court,

12:47PM    3     towards the judicial institution, towards the criminal justice

12:47PM    4     system in general, weighs against a lower guideline -- or,

12:47PM    5     sorry, a below-guideline sentence.

12:47PM    6                But that is also one of many factors that I will sort

12:47PM    7     of get into, because that is sort of part of his history and

12:47PM    8     characteristics, but the nature of the offenses here are also

12:47PM    9     very serious, and so I would like to --

12:47PM   10                THE COURT:     I don't disagree with that.

12:47PM   11                MR. FITZSIMMONS:     -- I'd like to walk through those

12:47PM   12     as well --

12:47PM   13                THE COURT:     Go ahead.

12:47PM   14                MR. FITZSIMMONS: -- because 30 months is the low end

12:47PM   15     of the guidelines, which the government has agreed not to

12:47PM   16     object to, but the government feels is fair even considering

12:47PM   17     all the progress the defendant has made, and some of the

12:47PM   18     more -- and his sympathetic back story --

12:47PM   19                THE COURT:     And, by the way, Ms. Ferraro, I recognize

12:47PM   20     that probation has recommended a sentence at the high end of

12:47PM   21     the guidelines, and I am not discounting that, either.                 I

12:47PM   22     don't want you to think that I'm simply deciding between the

12:47PM   23     two recommendations and the lawyers, I'm considering

12:48PM   24     probation's recommendation as well.

12:48PM   25                So go ahead, Mr. Fitzsimmons.
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12:48PM    1                MR. FITZSIMMONS:     Sure.    So let me turn to the

12:48PM    2     sentencing factors.       The three considerations that I want to

12:48PM    3     focus on today are the gravity of the offenses, his history

12:48PM    4     and characteristics, and the need for this sentence to promote

12:48PM    5     respect for the rule of law.

12:48PM    6                First, seriousness.       The defendant was caught with an

12:48PM    7     AR-15-style rifle, a scoped rifle with a bipod mount, and a

12:48PM    8     shotgun concealed in guitar cases.

12:48PM    9                In addition, the defendant possessed over 1,200

12:48PM   10     rounds of firearm ammunition.        1,200 rounds.

12:48PM   11                THE COURT:     Were all the -- all of the firearms

12:48PM   12     concealed?     Were they all in guitar cases?

12:48PM   13                MR. FITZSIMMONS:     All of the -- the three firearms,

12:48PM   14     there was an additional -- a fourth firearm, that was an older

12:48PM   15     firearm, that was not subject to these proceedings that I

12:48PM   16     don't believe was concealed.         All three firearms were found in

12:48PM   17     cases, two of which were very clearly guitar cases, one of

12:48PM   18     which also appears to be a guitar case but was not fully

12:48PM   19     clear.

12:48PM   20                The defendant possessed body armor, a helmet, a

12:49PM   21     knife, and an axe.       He also possessed items and symbols

12:49PM   22     espousing antigovernment views.         In his interview, the

12:49PM   23     defendant stated that he had these weapons -- firearms and

12:49PM   24     weapons to defend himself from people he believed to be coming

12:49PM   25     after him in Nevada.
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12:49PM    1                Firearms concealed in guitar cases are not consistent

12:49PM    2     with that defensive use.       1,200 rounds of ammunition are not

12:49PM    3     consistent with that defensive use.          A scoped rifle with a

12:49PM    4     bipod mount, a mount designed to permit a shooter to fire

12:49PM    5     accurately while down in a prone position are not consistent

12:49PM    6     with defensive use.

12:49PM    7                Also in his interview, the defendant proclaimed a

12:49PM    8     desire to do violence to people who he believes have wronged

12:49PM    9     him.    He joked about how he can't just get into Ghillie suit

12:49PM   10     and shoot people.

12:49PM   11                The Court may already know what a Ghillie suit is

12:49PM   12     but, for the record, it is a form of camouflage clothing, a

12:49PM   13     full suit which allows snipers and hunters to hide in foliage

12:49PM   14     to prevent detection by their target.           It is primarily used

12:49PM   15     with a scoped rifle and a bipod stand to permit effective

12:50PM   16     distance shooting while lying in the prone position.

12:50PM   17                To be clear, the defendant stated over and over again

12:50PM   18     that he has never wanted to be violent.           He has stated that he

12:50PM   19     never has been violent, and he had not violent with law

12:50PM   20     enforcement both times that he was arrested.             But the nature

12:50PM   21     of the items recovered, his own statements, and the

12:50PM   22     antigovernment rhetoric all point to a gravely serious

12:50PM   23     offense.

12:50PM   24                One of the defendant's counter arguments that I would

12:50PM   25     like to address is that he attempts to minimize --
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12:50PM    1                THE COURT:     When you say it points to a gravely

12:50PM    2     serious offense, I get that.         But, you know, keeping him in

12:50PM    3     jail for another three weeks, what are we accomplishing by

12:50PM    4     that?

12:50PM    5                MR. FITZSIMMONS:       Your Honor, it doesn't matter if it

12:50PM    6     was three weeks, three days, three months.             Here, I -- the

12:50PM    7     government believes that it is inappropriate to go below the

12:50PM    8     sentencing guidelines because when everything has been already

12:50PM    9     been factored into this including, at least from our

12:50PM   10     perspective, including the -- his sort of background, his

12:51PM   11     positive attributes as well, and 30 months the government

12:51PM   12     feels is more than fair to the defendant.

12:51PM   13                THE COURT:     Are you bound by that, by the plea

12:51PM   14     agreement to do that?

12:51PM   15                MR. FITZSIMMONS:       Absolutely, Your Honor.

12:51PM   16                THE COURT:     Okay.

12:51PM   17                MR. FITZSIMMONS:       So, one of the counter arguments

12:51PM   18     that defendant has made throughout these proceedings is that

12:51PM   19     he was not aware that he was a prohibited person at the time

12:51PM   20     that he possessed these firearms.         That's inconsistent with

12:51PM   21     his own statements.       When the defendant was released from his

12:51PM   22     2021 Nevada state case, he was released on conditions that

12:51PM   23     prohibited him from possessing firearms.              He signed that

12:51PM   24     release form, colon Justin dash Andrew colon Hall.               Those

12:51PM   25     conditions were in effect when he drove to Buffalo with the
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12:51PM    1     firearms in his truck.

12:51PM    2                 Second, when he was interviewed in Buffalo, the

12:51PM    3     defendant brought up his possession of these firearms, and he

12:51PM    4     didn't tell law enforcement I own these firearms legally.               He

12:52PM    5     didn't tell law enforcement I used to be a prohibited person

12:52PM    6     but that two-year period is up.           The defendant stated he knew

12:52PM    7     he was a prohibited person, but that he believed the

12:52PM    8     government could not infringe on his right to possess

12:52PM    9     firearms.     In other words, the defendant knew he could not

12:52PM   10     possess firearms, but he believed the rules did not apply to

12:52PM   11     him.

12:52PM   12                 Finally, with respect to the seriousness of the

12:52PM   13     offenses, I would like to touch on the letters that the

12:52PM   14     defendant sent to officials in relation to his Nevada state

12:52PM   15     charge.

12:52PM   16                 While he remained in Nevada in 2022, help sent writs

12:52PM   17     of execution, as he calls them, to various judges,

12:52PM   18     prosecutors, and lawyers, including those on his state

12:52PM   19     criminal case.         In these letters, he threatened officials with

12:52PM   20     imprisonment and death, accusing them of genocide and crimes

12:52PM   21     of humanity.     He claimed that he was acting on behalf of a

12:52PM   22     court created by congress in doing so.             He threatened them

12:52PM   23     with arrest by extrajudicial bounty hunters that he referred

12:52PM   24     to as "seekers."         And I think importantly, to touch on one of

12:53PM   25     your earlier question to me, instead of expressing remorse for
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12:53PM    1     sending these threatening letters, in his letter to the Court

12:53PM    2     he tells the Court that those letters are legitimate and

12:53PM    3     binding.

12:53PM    4                The firearms, the ammunition, these letters, the

12:53PM    5     symbols, defendant's statements, all demonstrate a

12:53PM    6     significantly grave set of offenses.

12:53PM    7                With respect to the defendant's history and

12:53PM    8     characteristics, the Court should consider the defendant's

12:53PM    9     positive attributes as well as his negative ones.               I'm not

12:53PM   10     going to go into every single one in detail, we covered them

12:53PM   11     in the briefing and in the PSR.         But like I started out,

12:53PM   12     above-the-law mentality of the defendant is the one that is

12:53PM   13     the most -- is the one that I'd like to focus on today.

12:53PM   14                At many of these court proceedings, he has declared

12:53PM   15     that he is above the law, and he has demanded and insisted

12:53PM   16     that he be immediately released.         And he has threatened this

12:53PM   17     Court and other individuals in doing so.              On September 8th, he

12:53PM   18     threatened people in this courtroom with an extrajudicial

12:54PM   19     military tribunal and called this Court and the marshals

12:54PM   20     criminals.     He refused to be transported by the marshals on

12:54PM   21     one occasion.      He has insulted the marshals in open court.

12:54PM   22                And I understand that the Court is unlikely to take

12:54PM   23     these insults personally, nor should it.              But the defendant is

12:54PM   24     attacking the judicial institution.          He called this Court a

12:54PM   25     kangaroo court because the Court did not obey his command to
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12:54PM    1     be released immediately.

12:54PM    2                 At the end of the day, the Court must impose a

12:54PM    3     sentence that, among other factors, promotes respect for the

12:54PM    4     rule of law.     Granting the defendant's request to a

12:54PM    5     below-guideline sentence here, at least in the government's

12:54PM    6     view, is not sufficient to do so.         Thank you.

12:54PM    7                 THE COURT:    There are no identifiable victims,

12:54PM    8     correct?

12:54PM    9                 MR. FITZSIMMONS:      No, Your Honor.

12:54PM   10                 THE COURT:    Okay.   Mr. Covert?

12:54PM   11                 MR. COVERT:    Yes, Your Honor.

12:54PM   12                 THE COURT:    So in addition to addressing the

12:54PM   13     difference between the small difference between your request

12:54PM   14     and the government's request, tell me why I shouldn't impose

12:54PM   15     something at the high end of the guidelines, given -- there is

12:55PM   16     some scary stuff in the stuff that he writes to me, including

12:55PM   17     even the last letter that he writes to me that indicates that

12:55PM   18     he still doesn't believe that these laws apply to him.                And I

12:55PM   19     believe that he -- that he sincerely holds those beliefs.               I

12:55PM   20     don't doubt that those are sincerely-held beliefs.              They scare

12:55PM   21     me.     Those things scare me a little bit, so talk to me about

12:55PM   22     that.

12:55PM   23                 MR. COVERT:    Your Honor, in the time that I've gotten

12:55PM   24     to know Mr. Hall since I was first assigned to him, and I

12:55PM   25     think the Court has discussed kind of the progression and the
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12:55PM    1     manner that he has dealt with these matters, the respect he's

12:55PM    2     shown for the Court, and I think that we have come a long way.

12:55PM    3                 What I've learned about Mr. Hall is that he is a

12:55PM    4     great -- a man of great character and belief.              He believes

12:55PM    5     very genuinely in what he tells the Court, what he is doing

12:55PM    6     here.

12:55PM    7                 But what I've also learned is that he is not

12:55PM    8     alleging, or he is not threatening to himself inflict violence

12:56PM    9     upon anybody.      There's no instance here with -- whether it's

12:56PM   10     the arrest in Nevada or here where he touched the weapons in a

12:56PM   11     way that was threatening to anybody.           He allowed himself to be

12:56PM   12     arrested.     He did not resist arrest.        He --

12:56PM   13                 THE COURT:    The only episode of violence is the

12:56PM   14     episode with his ex-wife before they were married, which may

12:56PM   15     very well have been a misunderstanding --

12:56PM   16                 MR. COVERT:    Correct.

12:56PM   17                 THE COURT:    -- based on what observers saw.

12:56PM   18                 MR. COVERT:    Yeah.     The Court referenced her

12:56PM   19     statement that she indicates that that was patrons inside the

12:56PM   20     bar who must have been under the influence, not understanding

12:56PM   21     what occurred outside the bar.

12:56PM   22                 THE COURT:    Right.

12:56PM   23                 MR. COVERT:    There were no direct witnesses, and

12:56PM   24     that's what led to this, and that's what led to --

12:56PM   25                 THE COURT:    Regardless, though, the plea was to a
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12:56PM    1     domestic violence --

12:56PM    2                MR. COVERT:       No question.

12:56PM    3                THE COURT:       -- crime.

12:56PM    4                MR. COVERT:       And I think that what occurred here is

12:56PM    5     that nobody explained to him the -- with due respect to the

12:57PM    6     government, there was no order -- particular order of

12:57PM    7     protection in place when Mr. Hall was arrested in Nevada in

12:57PM    8     2021 or here in 2022 in Buffalo.            That two-year prohibition

12:57PM    9     was from March 2nd, I believe, of 2017, had long since

12:57PM   10     expired.     He was not alleged to have possessed any weapons in

12:57PM   11     Nevada during that two-year period.

12:57PM   12                Then he began possessing weapons believing that

12:57PM   13     that -- the judge had told me, I'm allowed to possess weapons.

12:57PM   14     Why would he say only two years if I can't possess them after

12:57PM   15     two years?     So he now has a genuine belief that he can possess

12:57PM   16     weapons.

12:57PM   17                He gets arrested in Nevada.            He believes that

12:57PM   18     that's -- in 2021.         He believes that that's a mistake, that

12:57PM   19     they should have known -- those charges were brought in state

12:57PM   20     court not federal court until the day he was arrested here.

12:57PM   21                Then they indict him in federal court there under the

12:57PM   22     922.    So he was not on the road from Nevada with the belief

12:58PM   23     that he was charged in Nevada with weapon possession, and then

12:58PM   24     had them here.         He was traveling across the country.              There's

12:58PM   25     no allegation with respect to his arrest in Buffalo that he
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12:58PM    1     was intending to use the weapons.

12:58PM    2                Even the probation report indicates because of the

12:58PM    3     tragedy that occurred about a week earlier in Buffalo at the

12:58PM    4     Tops store, that there was this heightened security nationwide

12:58PM    5     which led them, in our mind, to illegally have pulled his

12:58PM    6     vehicle over without having committed any traffic incidents

12:58PM    7     whatsoever, he was pulled over because of this general

12:58PM    8     heightened security.         We made those motions, but we've

12:58PM    9     essentially waived them by entering into a plea to try to get

12:58PM   10     these cases resolved.

12:58PM   11                But he did not -- those weapons that he possessed

12:58PM   12     were not in and of themselves illegal in that they were not an

12:58PM   13     AR that was illegal if he been caught with it without being a

12:58PM   14     922 individual who was not to have weapons.              He's perfectly

12:59PM   15     legal to have a shotgun, perfectly legal to have the rifles,

12:59PM   16     perfectly legal to have everything.            But I know the government

12:59PM   17     describes all of these items that were with it as being items

12:59PM   18     that are indicative of -- are threatening, and that are

12:59PM   19     dangerous.     Well, you know, weapons are dangerous, and they're

12:59PM   20     perfectly legal unless you're a prior felon.

12:59PM   21                THE COURT:       But he is --

12:59PM   22                MR. COVERT:       But he is.

12:59PM   23                THE COURT:       -- and that's the point.

12:59PM   24                MR. COVERT:       Yeah, he didn't -- you know, and that

12:59PM   25     was the point.         And he's taken responsibility now even though
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12:59PM    1     we believe that there are some very valid suppression issues

12:59PM    2     that we could have continued to pursue.           He has taken

12:59PM    3     responsibility.

12:59PM    4                And the reason I believe, in answering the Court's

12:59PM    5     first question to the government, that it's not necessary to

12:59PM    6     have him incarcerated for another three weeks or up to the

12:59PM    7     high end of the guideline range as probation indicates is

12:59PM    8     because we've seen the changes.         We've seen the respect that

12:59PM    9     he has.    He's gonna have his beliefs.

12:59PM   10                You know, I'm not saying this to be a wise guy, but

01:00PM   11     we've got somebody who's being -- we've got a jury out today

01:00PM   12     in New York that's made very similar comments about the

01:00PM   13     legitimacy of the judiciary, and the judicial branch, and the

01:00PM   14     players involved.      And he uses all these words.         That doesn't

01:00PM   15     mean he's gonna be punished more because he has these beliefs.

01:00PM   16                Mr. Hall genuinely believes in what he has expressed

01:00PM   17     to the Court.      And he did not, in his mind, threaten the Court

01:00PM   18     or anybody else when he says that you were serving the

01:00PM   19     environmental court documents on you, you're subject to these

01:00PM   20     penalties.     He's not saying I'm going to incarcerate you, I'm

01:00PM   21     going to harm you.       It's, we're serving these documents on you

01:00PM   22     that warn you of what the potential could be in his mind

01:00PM   23     because he believes that this is a legitimate court.                  But he

01:00PM   24     is not threatening to actually harm anybody, to actually take

01:00PM   25     any actions here.      He's got legitimate beliefs, he's got an
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01:01PM    1     absolute First Amendment right to express them.

01:01PM    2                And intertwined throughout the government's argument,

01:01PM    3     and I don't blame them for their arguments and their concern,

01:01PM    4     but intertwined throughout these arguments is always, well,

01:01PM    5     you have to look at this in light of his disrespect for the

01:01PM    6     judiciary or his dislike of the United States government.

01:01PM    7                No, you don't.     You really don't.

01:01PM    8                THE COURT:     I agree with you on that.

01:01PM    9                MR. COVERT:     You have to separate.        Otherwise, the

01:01PM   10     First Amendment means nothing.         If I can't engage in the same

01:01PM   11     conduct that anybody else can legally engage in because I have

01:01PM   12     beliefs that are not favored by the current political system,

01:01PM   13     that is not --

01:01PM   14                THE COURT:     I agree with you.      I agree with you.    And

01:01PM   15     anything he said about me, anything he said about the Court,

01:01PM   16     that's not going to affect us.

01:01PM   17                But talk to me about promoting respect about the law.

01:01PM   18     Talk to me about the seriousness of this offense, given the

01:01PM   19     fact that there was -- that there were some pretty serious

01:02PM   20     weapons and a whole lot of ammunition involved here.

01:02PM   21                MR. COVERT:     Well, I think that the first sign of his

01:02PM   22     respect for the law is he didn't physically try prevent

01:02PM   23     himself from being arrested in Nevada in 2021, or here in

01:02PM   24     Buffalo in 2022.       He did not engage in any form of trying to

01:02PM   25     fight off the officers.
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01:02PM    1                 He does believe that the system is not legitimate,

01:02PM    2     and he expressed that repeatedly, peacefully.

01:02PM    3                 So, I believe that between that, and when we put

01:02PM    4     those in their proper context, and now we have a gentleman who

01:02PM    5     I believe today, and as the Court described, over the last few

01:02PM    6     months is respecting the fact that he doesn't believe that

01:02PM    7     this is legitimate, he's made that crystal clear.              But he

01:02PM    8     still's respecting.       He's there, he's showing up, he's not

01:02PM    9     arguing.     He's still respecting the system.

01:02PM   10                 He now understands that he can never have a weapon

01:03PM   11     again for the rest of his life, that what he was led to

01:03PM   12     believe in 2017 by the judge in Nevada, that he could have

01:03PM   13     them again after two years, is absolutely incorrect.                  And he

01:03PM   14     can never have a shotgun, rifle, pistol, anything along those

01:03PM   15     lines.     And he has genuinely said to me --

01:03PM   16                 And one thing I give him credit for is he has never

01:03PM   17     once lied to me.       He's never misrepresented -- he's told me

01:03PM   18     what his views with are, he told me what he did, he told me

01:03PM   19     what behavior he engaged in.         He did have the weapon out

01:03PM   20     there.     He did have the three rifles here.         He's not blaming

01:03PM   21     anybody.

01:03PM   22                 Now, the rifle -- and an example of trying to paint

01:03PM   23     everything in a negative way because of his political views.

01:03PM   24     The rifles in a guitar case is a safety factor.             You don't

01:03PM   25     want them, the public, to see them through windows.              Having
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01:03PM    1     them on a back seat of a vehicle is not a great idea.                 You put

01:03PM    2     them in something that can't be seen.

01:03PM    3                New York State just changed our laws so that if, in

01:03PM    4     New York State, if you have a pistol and you're going to leave

01:04PM    5     it in a vehicle, it has to be in a box, but hidden away, and

01:04PM    6     the public can't see it or it's in violation of the new

01:04PM    7     New York State laws.

01:04PM    8                This is similar in concept.         It's not the exact same

01:04PM    9     thing.    But for the safety of others, he's not advertising to

01:04PM   10     the world, those who might come by his vehicle in parking lot,

01:04PM   11     the fact that he has guns.

01:04PM   12                THE COURT:     And if it's in a gun case, it's the same

01:04PM   13     thing.

01:04PM   14                MR. COVERT:     It's the same thing.

01:04PM   15                New York State requires you to take that gun case and

01:04PM   16     put it underneath a seat, in a trunk, it has to be out of

01:04PM   17     view, because people would recognize a gun case and that would

01:04PM   18     be subject to being stolen.

01:04PM   19                So we can look at everything in two ways, that if he

01:04PM   20     were just an avid sportsman, what he did wouldn't seem

01:04PM   21     nefarious at all.      But because he has these views, we're going

01:04PM   22     to hold those views against him in violation of his First

01:04PM   23     Amendment rights, and now characterize everything in the most

01:04PM   24     negative possible way.

01:04PM   25                And I understand that.       It's the same reason he was
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01:04PM    1     pulled over when Tops happened, after Tops occurred, is that,

01:05PM    2     you know, we -- we get concerned, weapons are serious matters,

01:05PM    3     the Court has repeatedly said what he pled to is to is a

01:05PM    4     serious -- are two serious offenses.           There's no dispute to

01:05PM    5     that.

01:05PM    6                These are two serious offenses, and he has taken full

01:05PM    7     responsibility.        And he has not taken the position he hasn't

01:05PM    8     done these things.        He has taken the position I've done these

01:05PM    9     things, but I disagree with our government and our current

01:05PM   10     system.    But he's still not behaving in a way that says I

01:05PM   11     shouldn't be here, I shouldn't get one more day in jail, this

01:05PM   12     is all wrong, and you have to let me out now because this is

01:05PM   13     an illegitimate system.        He has never done that.

01:05PM   14                He has also been very, very concerned about his loved

01:05PM   15     ones, those around him.        The Court's read all the papers.

01:05PM   16     He's gone through a very tough patch with different family

01:05PM   17     members and doesn't have access to his children.               But he wants

01:05PM   18     to be able to get out as quickly as possible, as anybody would

01:05PM   19     who's in jail, of course, start assisting his girlfriend, who

01:06PM   20     they intend to get married, assist with her child.

01:06PM   21                His mother recently had a stroke.           He can't do

01:06PM   22     anything from the jail to assist there.

01:06PM   23                And when it comes back to the Court question of do we

01:06PM   24     need to have a deterrent message sent by having him in jail

01:06PM   25     for a little while longer?        Maybe significantly longer?          I
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01:06PM    1     don't think so.        The message has been sent.       He was arrested,

01:06PM    2     he has been in jail for over two years.            Nobody from the

01:06PM    3     outside's gonna say, well, because the judge didn't give him

01:06PM    4     two years and four months, or two years and eight months, this

01:06PM    5     was not treated as a serious offense.

01:06PM    6                He's a convicted felon now.          He understands he can

01:06PM    7     never possess a weapon again, he is going to suffer that.

01:06PM    8     He's going to suffer any voting losses he's going to have in

01:06PM    9     whatever state he wants to vote in.           He is going to suffer

01:06PM   10     many, many harms to him.

01:06PM   11                And the deterrence factor has been to -- a message

01:07PM   12     has been sent to the community.          You can't do this.       You can't

01:07PM   13     have weapons that I can have, that -- he can't possess now.

01:07PM   14     He now gets that.

01:07PM   15                He's been punished for it.         Over two years in jail is

01:07PM   16     pretty good punishment for having misunderstood or not

01:07PM   17     understood exactly what the laws were in relation to the

01:07PM   18     weapons.     I don't see where -- what is achieved by additional

01:07PM   19     period of incarceration beyond today.

01:07PM   20                I am so impressed with how far he's come, the respect

01:07PM   21     he's shown.     I don't think he'll have any issues on supervised

01:07PM   22     release.     I will be shocked to get a phone call in the future

01:07PM   23     that he has an issue with that.

01:07PM   24                He is -- he is a -- I won't say a changed person

01:07PM   25     because his beliefs are his beliefs.           But his -- he has
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01:07PM    1     developed the respect for our system, and I think it's because

01:07PM    2     Your Honor treated him respectfully.

01:07PM    3                You know, I've taken a lot of time with him.                 And he

01:07PM    4     understands that our system has to be respected, and he can

01:08PM    5     continue having those beliefs and associating with others that

01:08PM    6     have those beliefs, as long as he's not violating our laws.

01:08PM    7                And a period of supervised release will show -- I

01:08PM    8     fully believe that he will do just fine on supervised release.

01:08PM    9     But if he can't, as the government suspects, he can't lead a

01:08PM   10     law-abiding life, it will show during supervised release.

01:08PM   11     We'll know.     And the Court will have a chance to have him

01:08PM   12     before the Court again, and we'll find out where we go from

01:08PM   13     there.

01:08PM   14                But, you know, he is someone who really wants to

01:08PM   15     assist others.         I think that many of the character letters are

01:08PM   16     just wonderful that we read, because it talks about repeatedly

01:08PM   17     he'll give the shirt off his back because he -- that same

01:08PM   18     conviction he takes to his political views, he takes to taking

01:08PM   19     care of those around him, to his family, to his friends, to

01:08PM   20     his fiancée/girlfriend that he's going to go see, committing

01:08PM   21     to go help her.         And he is that type of a person.

01:08PM   22                And I don't see any -- anything of evidence that I've

01:09PM   23     been shown that would lead me to believe that he is not a man

01:09PM   24     of character.      He is certainly honest.         He certainly follows

01:09PM   25     through on what he wants, what he says he is going to do,
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01:09PM    1     and -- and I think he'll do so here.

01:09PM    2                And the only -- the only reason we would question

01:09PM    3     that is because of his views.        And those views, I believe, are

01:09PM    4     protected by the First Amendment and should not be taken into

01:09PM    5     account.     Obviously, the Court has to take everything into

01:09PM    6     account, but those should not be used to harm him

01:09PM    7     affirmatively when he has those views, but is still willing to

01:09PM    8     be a law-abiding citizen, to respect our laws, to respect the

01:09PM    9     courtroom, to respect the judge, and he will certainly respect

01:09PM   10     being on supervised release and what he's told to do.

01:09PM   11                He had no issues in -- after he was sentenced in 2017

01:09PM   12     leading a law-abiding life, and not having weapons for two

01:09PM   13     years, so he didn't have them.         But, and now he knows, he

01:09PM   14     definitely knows, I can assure the Court in every which way,

01:10PM   15     that I have made sure he understands there will never be a

01:10PM   16     weapon in his vicinity for the rest of his life, or he's

01:10PM   17     facing another set of charges, even if it's after supervised

01:10PM   18     release.

01:10PM   19                So, for those reasons, Your Honor, I really

01:10PM   20     respectfully -- I usually don't ask for it, a specific

01:10PM   21     sentence, but I believe it this case, given what he has done,

01:10PM   22     given how he has really come forward and assisted us, I don't

01:10PM   23     see any benefit to additional incarceration time, and I would

01:10PM   24     ask that the Court sentence him to time served.

01:10PM   25                THE COURT:     Thank you.
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01:10PM    1                MR. FITZSIMMONS:       Your Honor, may I respond briefly?

01:10PM    2                THE COURT:     I'm sorry?

01:10PM    3                MR. FITZSIMMONS:       May I respond briefly to a couple f

01:10PM    4     points?

01:10PM    5                THE COURT:     Very briefly, yeah.

01:10PM    6                MR. FITZSIMMONS:       Your Honor, I --

01:10PM    7                THE COURT:     I'm going to give Mr. Covert the last

01:10PM    8     word, but go ahead.

01:10PM    9                MR. FITZSIMMONS:       Sure.    I do -- there was a

01:10PM   10     discussion about the bail order and the -- which federal

01:10PM   11     charges, and how they all lined up, so I do want to just talk

01:10PM   12     about the timeline a little bit because it's important for his

01:10PM   13     compliance.

01:10PM   14                He was charged by the State of Nevada in 2021.

01:10PM   15                THE COURT:     Okay.

01:10PM   16                MR. FITZSIMMONS:       He was released by the State of

01:11PM   17     Nevada in 2021 on conditions, conditions that he signed in

01:11PM   18     2021 that he would not possess a firearm.

01:11PM   19                Even though he was not federally charged in Nevada,

01:11PM   20     while he was in Nevada -- well, the grand jury returned an

01:11PM   21     indictment, he didn't appear, he didn't know about the Nevada

01:11PM   22     federal charges until he came here, he was on those

01:11PM   23     conditions.     So what was stated about, well, he still thought

01:11PM   24     that he was not a prohibited person is just not true.                 He had

01:11PM   25     those bail conditions in place.           He made statements to law
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01:11PM    1     enforcement indicating that he knew that he was a prohibited

01:11PM    2     person.

01:11PM    3                The only other thing that I wanted to mention was the

01:11PM    4     argument about the First Amendment.           Obviously, the defendant

01:11PM    5     has a First Amendment right to believe what he wants to

01:11PM    6     believe, but what I take issue with is the suggestion that he

01:11PM    7     has respected the law and abided by the law even though he has

01:11PM    8     these First Amendment beliefs.

01:11PM    9                He has sent threatening letters to officials.               He, in

01:11PM   10     his interview, indicated that the reason why he possessed the

01:12PM   11     firearms is that he didn't believe the law applied to him.

01:12PM   12     That is conduct.       That is not a First Amendment belief.           He is

01:12PM   13     acting on is beliefs by one -- he also, one, possessing the

01:12PM   14     firearms, two, leaving the State of Nevada when he had a

01:12PM   15     federal -- or, sorry, a state court, criminal court appearance

01:12PM   16     less than a week away stating that he intended not to show up

01:12PM   17     to those proceedings.       Why?     Because he did not believe that

01:12PM   18     the laws applied to him.

01:12PM   19                So I don't agree with the assertion that while he

01:12PM   20     just has these beliefs, he's entitled to them under the First

01:12PM   21     Amendment, but they're not affecting his ability to -- or, did

01:12PM   22     not affect his ability to respect the law and abide by the

01:12PM   23     law.    There were several incidences in which those beliefs, he

01:12PM   24     acted on them inappropriately.

01:12PM   25                THE COURT:     Okay.    Do you want to respond to the
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01:12PM    1     first thing he said about the fact that he signed papers in

01:12PM    2     Nevada in the state court prosecution saying he couldn't

01:12PM    3     possess a weapon, and yet came here?           Isn't that inconsistent

01:13PM    4     with your argument --

01:13PM    5                MR. COVERT:     Your Honor, it is.          And we didn't -- you

01:13PM    6     know, I just went back through the government's documents, and

01:13PM    7     we didn't realize that he had signed an order of protection,

01:13PM    8     or an order that says that he cannot have a weapon.                He did

01:13PM    9     not understand that.       And whatever the flurry of what was

01:13PM   10     going on when he was in court and released, that box was

01:13PM   11     checked and he did sign it.          So, we -- I do retract that.

01:13PM   12                THE COURT:     Okay.

01:13PM   13                MR. COVERT:     But, Your Honor, again, I think that

01:13PM   14     this is all centered upon -- given that we're only looking at

01:13PM   15     some additional time, marginal time, which is very important

01:13PM   16     to him because that's his free -- his -- his freedom, I don't

01:13PM   17     believe that anything that the government, respectfully, they

01:13PM   18     made very good comments, and we don't in any way mean to

01:13PM   19     diminish their concerns, but I don't believe that any of the

01:13PM   20     factors that they discussed justify any additional time beyond

01:13PM   21     today, because it's -- we're not talking about an extra two

01:13PM   22     years, an extra three years, we're talking about a time,

01:14PM   23     and --

01:14PM   24                THE COURT:     That's what I'm struggling with, that's

01:14PM   25     exactly what I'm struggling with.
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01:14PM    1                MR. COVERT:     Yeah.     And my understanding then is

01:14PM    2     that -- and I had to ask a much greater mind than myself,

01:14PM    3     MaryBeth, how it works if the Court does give him some

01:14PM    4     additional time.       And my understanding is that he has to go

01:14PM    5     back in and then be processed by the Bureau of Prisons because

01:14PM    6     they have to actually make the determination of good time

01:14PM    7     served.    Ms. Ferraro and I were dealing with trying to

01:14PM    8     calculate that today, and she even contacted the Bureau of

01:14PM    9     Prisons, and they gave her, you know, nonofficial answers but

01:14PM   10     ballparks, because it's all calculated there.

01:14PM   11                I'm really looking to avoid that.           And according to,

01:14PM   12     again, Mrs. Covert, we then have to stay on top of them to try

01:14PM   13     to get them to make the decision quickly, because he may end

01:14PM   14     up being there longer than is anticipated because they don't

01:14PM   15     make a calculation and decision quickly enough.

01:14PM   16                I just don't see the need to put him through that.               I

01:14PM   17     think that, you know, again, he -- he'll -- if this is -- I

01:15PM   18     don't believe that this is a change in how he's respecting the

01:15PM   19     Court based on trying to get a better sentence.              I think that

01:15PM   20     I have helped and you have helped, Your Honor, get him to come

01:15PM   21     along and understand that he has to do two tiers here, he can

01:15PM   22     have his views but respect us.          And beyond that now, I think

01:15PM   23     supervised release will be the acid test of whether he's

01:15PM   24     genuine in that or not.

01:15PM   25                And, again, he has never brandished the weapons here.
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01:15PM    1     It would be a different discussion if he brandished weapons.

01:15PM    2                So, Your Honor, otherwise, we -- I think we've

01:15PM    3     exhausted the issues.

01:15PM    4                THE COURT:     Thank you.

01:15PM    5                Mr. Hall, anything you would like to say?            You can

01:15PM    6     stay seated.     You can stay seated, yeah, just talk right into

01:15PM    7     the microphone.

01:15PM    8                THE DEFENDANT:     Yes, sir.     This has been a

01:15PM    9     life-changing experience for me.

01:15PM   10                Any of the hardships that I've had to face during

01:15PM   11     this have, you know, really shaken me to the core.              You know,

01:16PM   12     I've been dealing with just the loss of time with my loved

01:16PM   13     ones, my children.       My mom has suffered a stroke during this

01:16PM   14     time.    I have people outside of these walls who really,

01:16PM   15     really, really need me to be free.          And these are people who

01:16PM   16     are innocent, and they love me, and I love them, and they need

01:16PM   17     me, and I need to be free for them.

01:16PM   18                And I don't need to ever go back to jail for any

01:16PM   19     reason, not even a parking ticket.          I am fully in compliance

01:16PM   20     with your requests and your -- the government's request to

01:16PM   21     just put away and leave the firearms alone.            I'm fine with

01:16PM   22     that.

01:16PM   23                I have never threatened or harmed anyone in my life,

01:16PM   24     nor would I.     I just -- I just need to be free for -- to get

01:16PM   25     on with my life.       People are depending on me.        And this is
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01:17PM    1     very painful to be in jail this long.

01:17PM    2                So as far as my comments to this Court -- I

01:17PM    3     apologize.     I apologize.

01:17PM    4                THE COURT:     Thank you.

01:17PM    5                THE DEFENDANT:     You know, I have only had love for my

01:17PM    6     country, and if it means that I have to pick up a pen to

01:17PM    7     change my country, then that's what I'll do.             But there will

01:17PM    8     be no weapons involved.

01:17PM    9                THE COURT:     Thank you.    Does either counsel know of

01:17PM   10     any reason why sentence should not now be imposed?

01:17PM   11                MR. FITZSIMMONS:     No, Your Honor.

01:17PM   12                MR. COVERT:     No, Your Honor.

01:17PM   13                THE COURT:     Pursuant to the Sentencing Reform Act of

01:17PM   14     1984 and the 2023 version of the sentencing guidelines, it's

01:17PM   15     the judgment of the Court that the defendant, Justin Hall, is

01:17PM   16     hereby sentenced to time served on each count to run

01:17PM   17     concurrent with one another.         The cost of incarceration fee is

01:17PM   18     waived.

01:17PM   19                The defendant shall be placed on supervised release

01:17PM   20     for a term of three years on each count, again to run

01:18PM   21     concurrently, and the following conditions shall apply.

01:18PM   22                Within 72 hours, the defendant shall report in person

01:18PM   23     to the probation office in this district, unless his probation

01:18PM   24     officer instructs him differently.

01:18PM   25                The defendant shall comply with the standard
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01:18PM    1     conditions of supervised release adopted by the Court.

01:18PM    2                The defendant shall not commit any crimes under

01:18PM    3     federal, state, or local law.

01:18PM    4                The defendant shall not possess a firearm,

01:18PM    5     ammunition, or any other dangerous device.

01:18PM    6                The defendant shall not possess a controlled

01:18PM    7     substance except as prescribed by a physician.

01:18PM    8                The defendant shall cooperate in the collection of a

01:18PM    9     DNA sample as required by the Justice For All Act of 2004.

01:18PM   10                The defendant shall participate in a program for

01:18PM   11     substance abuse, including substance abuse testing such as

01:18PM   12     urinalysis and other testing, and shall undergo a drug/alcohol

01:18PM   13     evaluation and treatment if substance abuse is indicated by

01:18PM   14     the testing.     The probation officer will supervise the details

01:18PM   15     of any testing and treatment, including the selection of a

01:18PM   16     treatment provider and schedule.          If inpatient treatment is

01:18PM   17     recommended, however, it must be approved by the Court unless

01:19PM   18     the defendant consents.

01:19PM   19                The defendant is not to leave treatment until

01:19PM   20     completion or as ordered by the Court.            While in treatment,

01:19PM   21     and after discharge from treatment, the defendant is to

01:19PM   22     abstain from using alcohol.          The defendant is required to

01:19PM   23     contribute to the cost of services rendered.              And the

01:19PM   24     defendant shall abstain from the excessive use of alcohol.

01:19PM   25                Because this offense occurred after September 13,
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01:19PM    1     1994, drug testing is required by the 1994 Crime Control Act.

01:19PM    2                And I'm imposing these conditions, and in particular

01:19PM    3     the parts of these conditions in addition to the required drug

01:19PM    4     testing, because of the defendant's admitted history of

01:19PM    5     alcohol use, using up to six beers at a time, and in

01:19PM    6     particular his 2005 conviction for driving under the

01:19PM    7     influence, and his 2017 conviction for possessing a gun under

01:19PM    8     the influence of alcohol or drugs.          I believe that this

01:19PM    9     condition therefore -- these conditions therefore serve the

01:19PM   10     statutory sentencing purposes of rehabilitation and public

01:20PM   11     protection.

01:20PM   12                The defendant shall submit to a search of his person,

01:20PM   13     property, vehicle, place of residence, or any other property

01:20PM   14     under his control based on reasonable suspicion, and shall

01:20PM   15     permit confiscation of any evidence or contraband discovered.

01:20PM   16                I'm imposing this condition because the offense of

01:20PM   17     conviction involved weapons and ammunition.            Those can be

01:20PM   18     easily hidden from law enforcement.          And I believe that the

01:20PM   19     condition therefore serves the statutory sentencing purposes

01:20PM   20     of deterrence and public protection.

01:20PM   21                The defendant shall pay to the United States a

01:20PM   22     mandatory special assessment of $100, that's due immediately.

01:20PM   23     Payment to be made to the Clerk, United States District Court,

01:20PM   24     Attention Finance, United States Courthouse, 2 Niagara Square,

01:20PM   25     Buffalo, New York 14202.
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01:20PM    1                So, this was a tough one.        In determining the

01:20PM    2     sentence, I've carefully reviewed the circumstances of the

01:20PM    3     case and the plea.       I began my analysis with the guidelines.

01:20PM    4     I've considered the arguments, the excellent arguments, raised

01:20PM    5     by both sides as to what the appropriate sentence should be in

01:21PM    6     this case.     And most important, I've considered the factors in

01:21PM    7     18, United States Code, Section 3553(a), which I stated

01:21PM    8     earlier and I won't repeat.

01:21PM    9                I'm not imposing a fine.        I'm not imposing any costs

01:21PM   10     of imprisonment or costs of supervised release because I don't

01:21PM   11     believe you have the financial ability to make those payments,

01:21PM   12     because I think that would have a disproportionate impact on

01:21PM   13     the good people who you obviously love and who obviously love

01:21PM   14     you.

01:21PM   15                THE DEFENDANT:     Thank you.

01:21PM   16                THE COURT:     And because I want to set you up to

01:21PM   17     succeed now --

01:21PM   18                THE DEFENDANT:     Thank you, sir.

01:21PM   19                THE COURT:     -- and not to fail.

01:21PM   20                So I imposed the sentence largely because of the

01:21PM   21     requirement that I'm charged with, to impose a sentence that I

01:21PM   22     think is sufficient but not greater than necessary.

01:21PM   23                THE DEFENDANT:     Thank you.

01:21PM   24                THE COURT:     And I ask myself in that circumstance,

01:21PM   25     and Mr. Fitzsimmons has made some excellent arguments as to
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01:21PM    1     why a low end of the guidelines sentence should be imposed.

01:21PM    2     And I can show you my notes where I say 30 months.              That's

01:22PM    3     what I have in my notes.       30 months.     But I ask myself, in a

01:22PM    4     case like this, he's already done almost two-and-a-half years

01:22PM    5     in jail.     And what good is that -- what good is the

01:22PM    6     incremental additional time going to do to him or to deter

01:22PM    7     others?

01:22PM    8                 Now, to deter others, the additional time is not

01:22PM    9     going to have any impact at all.         So the question really is

01:22PM   10     the message to Mr. Hall.       What message do I want to send to

01:22PM   11     Mr. Hall?

01:22PM   12                 And here's the message I want to send:           First of all,

01:22PM   13     this offense, as Mr. Fitzsimmons said and has Mr. Covert

01:22PM   14     conceded, is a very serious offense.          It involves weapons, and

01:22PM   15     all weapons offenses are serious offenses.            Shooting deaths in

01:22PM   16     this country are epidemic.       It's horrible what is happening

01:23PM   17     with weapons in this country.

01:23PM   18                 And while your criminal history category is a I, I

01:23PM   19     get the sense that at least when this process started, you had

01:23PM   20     the belief that you were above the law, that you didn't need

01:23PM   21     to comply with the law because of your views on the Second

01:23PM   22     Amendment, and because on your views about your being a

01:23PM   23     sovereign -- help me.

01:23PM   24                 THE DEFENDANT:    National.

01:23PM   25                 MR. COVERT:    Sovereign national.
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01:23PM    1                 THE COURT:    Sovereign national, okay.        I want to get

01:23PM    2     it right because I know language is very important to

01:23PM    3     Mr. Hall.

01:23PM    4                 THE DEFENDANT:    Right.

01:23PM    5                 THE COURT:    Being a sovereign national.         So I worry

01:23PM    6     about that, and that's -- and that's what was leading me

01:23PM    7     toward imposing a sentence of 30 months.

01:23PM    8                 Now as I said before, the difference between what

01:23PM    9     you're asking for and what I've imposed, time served, and the

01:23PM   10     high end of the guidelines, which was recommended by

01:24PM   11     probation, is a relatively small difference.             And the

01:24PM   12     difference between what you're asking for and what I imposed,

01:24PM   13     time served, and what the government asked for, 30 months,

01:24PM   14     is -- is almost nothing.

01:24PM   15                 So, how do I best send the message to you that --

01:24PM   16     what you did was a serious offense; that you're not above the

01:24PM   17     law; that there are rules that apply to everyone; and that

01:24PM   18     regardless of what you might think, there are consequences for

01:24PM   19     not following the rules -- is an incremental term, a few weeks

01:24PM   20     is really what we're talking, and I can't imagine it's more

01:24PM   21     than a month and a half.       But is a month and a half going to

01:24PM   22     impress that on you?

01:24PM   23                 Or, are you going to be more impressed by two things?

01:24PM   24                 Number 1, the fact that you've gotten a very small

01:24PM   25     break from me --
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01:24PM    1                 THE DEFENDANT:    Yeah.

01:24PM    2                 THE COURT:    -- because I respect you, and because

01:25PM    3     I've seen what progress you've made; and

01:25PM    4                 Number 2, and just as important, by varying below the

01:25PM    5     guidelines, the guidelines for a violation of your release,

01:25PM    6     tell the judge who will sentence you on any violation for your

01:25PM    7     release that the judge can go above the guidelines.

01:25PM    8                 If I gave you a guideline sentence, that would not be

01:25PM    9     the case.     If I gave you 30 months, then if you violated, the

01:25PM   10     guidelines would be the guidelines, and the judge who would

01:25PM   11     impose a sentence for any violation of the guidelines would

01:25PM   12     have the guidelines.

01:25PM   13                 In addition to that now, because I've varied very

01:25PM   14     slightly below the guidelines, the message to that judge is:

01:25PM   15     You should take into account the fact that he already got his

01:25PM   16     break and shouldn't get another break if he violates.

01:25PM   17                 THE DEFENDANT:    Right.     Yes, sir.

01:25PM   18                 THE COURT:    So when I take those things together, the

01:25PM   19     amount of time that you've done already --

01:25PM   20                 THE DEFENDANT:    Yes, sir.

01:25PM   21                 THE COURT:    -- the -- the fact that I'm required to

01:26PM   22     impose a sentence that's sufficient but not greater than

01:26PM   23     necessary, the fact that I think you've gotten the message

01:26PM   24     that there are rules and if you violate the rules there are

01:26PM   25     consequences, you certainly had a consequence of serving
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01:26PM    1     almost two-and-a-half years already, and the fact that hanging

01:26PM    2     over your head, for the next three years anyway, and I've

01:26PM    3     imposed the maximum term of supervised release that I could

01:26PM    4     impose, so hanging over your head for the next three years

01:26PM    5     will be the fact that if you violate, if you possess a weapon

01:26PM    6     for heaven sakes, or if you violate in any other way, the

01:26PM    7     judge can take into account the fact that you got a break this

01:26PM    8     time.    And the judge should take into account the fact that

01:26PM    9     you got a break this time.       I think that that's sufficient but

01:26PM   10     not greater than necessary.

01:26PM   11                So to recognize the nature and circumstances and

01:26PM   12     seriousness of the offense; taking into account your history

01:27PM   13     and characteristics; to promote respect for the law; to impose

01:27PM   14     a fair punishment; to deter others; and to send the message to

01:27PM   15     you that there are rules, and rules need to be followed, I

01:27PM   16     think that this sentence is sufficient but not greater than

01:27PM   17     necessary.

01:27PM   18                And I've imposed that maximum term of supervised

01:27PM   19     release to help you return to society now, to help you

01:27PM   20     transition back, but it's also going to allow the probation

01:27PM   21     office to monitor your activities and to make sure you don't

01:27PM   22     engage in illegal activity in the future.

01:27PM   23                And regardless of what you believe, and I -- as

01:27PM   24     Mr. Covert said, and I don't doubt that you sincerely believe

01:27PM   25     the things that you've said in this Court and the things that
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01:27PM    1     you've written in your letters.         I don't doubt that for a

01:27PM    2     second.

01:27PM    3                THE DEFENDANT:     I don't deny them, sir.

01:27PM    4                THE COURT:     But I want you to understand that not

01:27PM    5     everyone agrees with you.       And that unfortunately for you, the

01:27PM    6     folks that hold the authority and that can impose punishment

01:28PM    7     on you don't agree with you.

01:28PM    8                Now, that doesn't mean that I don't respect you.               It

01:28PM    9     doesn't even mean that I don't respect your beliefs.                  I

01:28PM   10     disagree with your beliefs, I disagree with what you say.                 But

01:28PM   11     I respect every single person that comes in this courtroom,

01:28PM   12     and I don't care what they believe, and I don't care what

01:28PM   13     they've done.      I respect them as human beings.

01:28PM   14                THE DEFENDANT:     I receive that, sir.

01:28PM   15                THE COURT:     And I know you understand.         And I know it

01:28PM   16     took a while for you to get that.         But what -- what I want to

01:28PM   17     impress on you today is that while I have that respect for

01:28PM   18     you, and while I have that respect for what you believe and

01:28PM   19     that I disagree with, that doesn't give you the license to do

01:28PM   20     what you want to do, and there are going to be penalties if

01:28PM   21     you do what you want to do that the law says you can't do.

01:28PM   22                And whether you agree with that or not, and whether

01:28PM   23     you think you have to comply with it or not, I'm telling you:

01:28PM   24     You do have to comply.       And if you don't, you're gonna end up

01:28PM   25     being away from your loved ones, as well.
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01:28PM    1                 THE DEFENDANT:    Understood.

01:28PM    2                 THE COURT:    And I took into account those letters.

01:29PM    3     And I took into account the fact that those folks said the

01:29PM    4     things they said about you.          I took into account the fact that

01:29PM    5     you think you've gotten a raw deal in the past with respect to

01:29PM    6     the legal system.      I think all those things get factored into

01:29PM    7     the equation.

01:29PM    8                 So, I have talked too much, and I've said too little

01:29PM    9     probably.     But based on the guidelines, based on the positions

01:29PM   10     of the parties, and based on my review of all the facts and

01:29PM   11     circumstances presented to me, I believe that the sentence I

01:29PM   12     have imposed is sufficient but not greater than necessary to

01:29PM   13     comply with the purposes of sentencing in 18, United States

01:29PM   14     Code, Section 3553(a)(2).

01:29PM   15                 Under Rule 32(j)(1)(B) of the Federal Rules of

01:29PM   16     Criminal Procedure, I now advise the defendant of his right to

01:29PM   17     appeal.

01:29PM   18                 You have a statutory right to appeal your sentence

01:29PM   19     under certain circumstances, particularly if you think the

01:29PM   20     sentence is contrary to law.

01:29PM   21                 The defendant may waive those rights as part of a

01:29PM   22     plea agreement.

01:29PM   23                 And as I think you recognize, Mr. Hall, you entered

01:29PM   24     into a plea agreement in which you waived some of your rights

01:29PM   25     to appeal.     Specifically, you waived your right to appeal a
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01:30PM    1     sentence that is within or less than the guidelines range of

01:30PM    2     imprisonment.      These waivers are generally enforceable.           If

01:30PM    3     you believe the waiver is unenforceable, you can present that

01:30PM    4     theory to the appellate court.

01:30PM    5                 If you want to attempt to appeal some issue that you

01:30PM    6     think survives your waiver, you must file a notice of appeal

01:30PM    7     within 14 days.

01:30PM    8                 If you're unable to pay for the cost of an appeal,

01:30PM    9     you may apply for leave to appeal in forma pauperis, that is

01:30PM   10     leave to appeal without paying costs.

01:30PM   11                 You have the right to be represented by counsel on

01:30PM   12     any appeal, and if you can't afford counsel, you have the

01:30PM   13     right to have counsel appointed to represent you free of

01:30PM   14     charge.

01:30PM   15                 The forfeiture is made a part of the sentence and

01:30PM   16     judgment.

01:30PM   17                 Do I need to issue a final order of forfeiture,

01:30PM   18     Mr. Fitzsimmons?

01:30PM   19                 MR. FITZSIMMONS:      I believe so, Your Honor.

01:30PM   20                 THE COURT:    And you'll prepare that for me?

01:30PM   21                 MR. FITZSIMMONS:      Yes, Your Honor.

01:30PM   22                 THE COURT:    Okay.   Anything further from the

01:30PM   23     government?     You have a notion motion.

01:30PM   24                 MR. FITZSIMMONS:      Yes, Your Honor.      The government

01:30PM   25     moves to dismiss the second count of the indictment, here,
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01:30PM    1     22-CR, one moment --

01:31PM    2                THE COURT:     86.

01:31PM    3                MR. FITZSIMMONS: -- 86.       The second count of that

01:31PM    4     indictment, Your Honor.

01:31PM    5                THE COURT:     That motion is granted.

01:31PM    6                MR. COVERT:     Thank you.

01:31PM    7                THE COURT:     The statement of reasons shall be

01:31PM    8     included in the judgement, and shall be provided to the

01:31PM    9     probation office and to the Sentencing Commission.

01:31PM   10                A complete copy of the presentence report shall be

01:31PM   11     provided to the probation office and to the Sentencing

01:31PM   12     Commission.

01:31PM   13                Any other copies of the report and related material

01:31PM   14     shall remain confidential.

01:31PM   15                And as I said earlier, if an appeal is taken, counsel

01:31PM   16     will be given access to the report.

01:31PM   17                A judgment of the conviction should be prepared

01:31PM   18     promptly on the form prescribed for judgments including

01:31PM   19     sentences under the Sentencing Reform Act.

01:31PM   20                Two last things that I want to say.

01:31PM   21                First of all, Mr. Fitzsimmons, I thought that your

01:31PM   22     papers that you submitted and that your remarks today were

01:31PM   23     outstanding, and I thought that they were reasonable, and I

01:31PM   24     did not think they were over the top in any way.              In fact,

01:31PM   25     it's one of the finest sentencing presentations I've seen from
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01:31PM    1     the government in all the time that I've been on the bench.

01:31PM    2                And I would have, if I did not think that what I'm

01:32PM    3     doing sends the message to Mr. Hall, as I said, I don't think

01:32PM    4     that deterrence is going to change at all whether I give 30

01:32PM    5     months or time served because it's, you know, somebody from

01:32PM    6     the outside looking at this, it's not gonna make any

01:32PM    7     difference at all.         I think that the message to Mr. Hall is

01:32PM    8     the most important thing.         And I think that the sentence that

01:32PM    9     I fashioned sends that message better than a 30-month

01:32PM   10     sentence, especially because of the fact that the guidelines

01:32PM   11     tell a sentencing judge on a violation of supervised release

01:32PM   12     the judge can impose a harsher sentence under those

01:32PM   13     circumstances.         And so I think the message is sent that way.

01:32PM   14                But I don't want you to think that in any way I did

01:32PM   15     not really consider and take to heart what you said, because

01:32PM   16     it was, I thought, an outstanding presentation.

01:32PM   17                And, Mr. Covert, obviously, you've done a fabulous

01:32PM   18     job for Mr. Hall from everything from the beginning of this

01:33PM   19     case when he wanted to go to trial immediately and you, you

01:33PM   20     know, said let's take a deep breath and move a little bit more

01:33PM   21     slowly, to the negotiated plea where the government was bound

01:33PM   22     to ask for no more than 30 months.            I think that that is

01:33PM   23     outstanding.

01:33PM   24                So, Mr. Hall, you're lucky, you had a great lawyer.

01:33PM   25                THE DEFENDANT:       I agree.
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01:33PM    1                THE COURT:     And you should, I think, value the fact

01:33PM    2     that the prosecutor was pretty reasoned --

01:33PM    3                THE DEFENDANT:     I like him a lot better than Lenihan.

01:33PM    4                THE COURT:     I'm sorry?

01:33PM    5                THE DEFENDANT:     I like him a lot better than Lenihan.

01:33PM    6                THE COURT:     Yeah.   Well, he's a good man.        They're

01:33PM    7     all good men.      They're all good men.      But I'm glad this ended

01:33PM    8     up the way it did, I wish you all the luck in the world,

01:33PM    9     Mr. Hall, and --

01:33PM   10                THE DEFENDANT:     Thank you, sir.

01:33PM   11                THE COURT:     -- please, don't let me down.

01:33PM   12                THE DEFENDANT:     I won't, sir.

01:33PM   13                THE COURT:     Don't violate and make me regret what I

01:33PM   14     did today.

01:33PM   15                THE DEFENDANT:     No, you won't.

01:33PM   16                THE COURT:     Okay.   Thank you all, very much.

01:33PM   17                MR. COVERT:     I do have one question, Your Honor.

01:33PM   18                As I'm sure Your Honor surmises, he's going to want

01:33PM   19     to reside in Massachusetts and have the parole -- the

01:33PM   20     supervised release transferred there.

01:33PM   21                THE COURT:     Yeah, I don't have any problem at all

01:34PM   22     with that.     You'll have to work that out with the probation

01:34PM   23     office.

01:34PM   24                Ms. Ferraro, I'm sure you know ways that that can be

01:34PM   25     done?
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01:34PM    1                USPO FERRARO:         Yes, Your Honor.

01:34PM    2                One more thing from probation.                 There was two counts,

01:34PM    3     so we'd recommend a $200 special assessment.                     I think you said

01:34PM    4     $100 initially.

01:34PM    5                THE COURT:         Oh, I'm sorry.       Yes.       I apologize that.

01:34PM    6     I just missed that completely.              Yes.    There's a $200 -- $100

01:34PM    7     on each count, for a total of $200, and I apologize for that.

01:34PM    8                I did impose the sentence concurrent with both --

01:34PM    9     with respect to the time served and with respect to the

01:34PM   10     supervised release, correct?

01:34PM   11                MR. COVERT:         Yes.

01:34PM   12                USPO FERRARO:         Yes, Your Honor.

01:34PM   13                THE COURT:         So I didn't mess that up.            Okay, I just

01:34PM   14     missed up the special assessment.                Thank you, Ms. Ferraro.

01:34PM   15     You have always have my back.             I appreciate that.

01:34PM   16                USPO FERRARO:         No problem.

01:34PM   17                MR. COVERT:         Thank you, Your Honor.

01:34PM   18                THE COURT:         Anything else?

01:34PM   19                MR. FITZSIMMONS:           Nothing from the government.

01:34PM   20                THE COURT:         Good luck, Mr. Hall.

01:34PM   21                THE DEFENDANT:         Thank you, Your Honor.

01:34PM   22                THE CLERK:         All rise.

01:34PM   23                (Proceedings concluded at 1:34 p.m.)

01:34PM   24                *           *          *          *            *

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 1

 2                               CERTIFICATE OF REPORTER

 3

 4                            In accordance with 28, U.S.C., 753(b), I

 5     certify that these original notes are a true and correct

 6     record of proceedings in the United States District Court for

 7     the Western District of New York on May 29, 2024.

 8

 9

10                                 s/ Ann M. Sawyer
                                   Ann M. Sawyer, FCRR, RPR, CRR
11                                 Official Court Reporter
                                   U.S.D.C., W.D.N.Y.
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